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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA
                                                           Case No.: 9:22-mj-08332-BER
                     v.

  SEALED SEARCH WARRANT
                                                     /

      MEDIA INTERVENORS’ MOTION TO UNSEAL PORTIONS OF GOVERNMENT’S
       BRIEF ADDRESSING REDACTIONS TO SEARCH WARRANT AFFIDAVIT AND
      FOR PUBLIC FILING OF REDACTED VERSIONS OF ALL SEALED DOCUMENTS

         Intervenors American Broadcasting Companies, Inc.; the Associated Press; Cable News

  Network, Inc. (“CNN”); CBS Broadcasting Inc.; Dow Jones & Company, Inc., publisher of The

  Wall Street Journal; the E.W. Scripps Company (“Scripps”); Gannett Co., Inc. d/b/a The Palm

  Beach Post; the McClatchy Company, LLC d/b/a the Miami Herald; NBCUniversal Media, LLC

  d/b/a NBC News; The New York Times Company; Times Publishing Company d/b/a the Tampa

  Bay Times; and WP Company LLC d/b/a The Washington Post (the “Media Intervenors”) hereby

  move for an order (1) unsealing portions of the government’s brief (the “Brief,” ECF Nos. 88,

  89) addressing redactions to the affidavit of probable cause submitted in connection with the

  search warrant executed on August 8, 2022 at former President Donald J. Trump’s residence at

  the Mar-a-Lago Club, and (2) directing the government, going forward, to file a public redacted

  version of any sealed filing simultaneously with the sealed version.1




  1
   Counsel for Intervenors The Washington Post, CNN, NBC News, Scripps, and the Associated
  Press conferred with government counsel regarding these requests on August 24 and 25 and was
  advised that the government does not oppose the filing of this motion.
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                                             ARGUMENT

         Like the search warrant affidavit itself, the Brief is a judicial record to which a

  presumption of public access applies.2 As this Court has already recognized, there is an “intense

  public and historical interest in an unprecedented search of a former President’s residence,” and

  the government bears the burden of demonstrating that “a sufficiently important interest in

  secrecy” justifies sealing. Aug. 22, 2022 Order at 5, 13 (ECF No. 80); see also United States’

  Mot. to Unseal Limited Warrant Materials at 4 (ECF No. 18) (recognizing “public’s clear and

  powerful interest in understanding what occurred under these circumstances”). At the same

  time, this Court has recognized the government’s interest in “protecting the integrity and secrecy

  of an ongoing criminal investigation.” ECF No. 80 at 6. The Media Intervenors are sensitive to

  the balancing of interests required of the Court.

         That said, to the extent that some portions of the Brief could be made available to the

  public without jeopardizing any ongoing investigation, the government should be required to file

  a redacted version of the Brief with those portions unsealed. Furthermore, to avoid unnecessary

  motion practice in the future, the Media Intervenors respectfully request that the Court direct the

  government to file a public redacted version of any document filed under seal in this matter

  simultaneously with the sealed version.3

         As this Court has also recognized, there is little interest in maintaining secrecy with

  respect to facts about the investigation that the government has already publicly confirmed to be

  accurate. See ECF No. 80 at 11. Many confirmed facts about the investigation into Trump’s


  2
   The Media Intervenors incorporate by reference their prior briefing in support of unsealing all
  warrant materials. See ECF Nos. 8, 20, 22, 23, 31, 32, 33, 49, 67.
  3
   The Media Intervenors nonetheless reserve the right to challenge all sealings, regardless of
  whether a public redacted version is filed.



                                                      2
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  handling of records have already been made available to the public, including through the

  warrant materials already unsealed in this matter (ECF Nos. 15-17, 55-57), Attorney General

  Merrick Garland’s public statement,4 and statements and materials released by the National

  Archives and Records Administration.5 Additionally, public statements by Trump in his pending

  motion for judicial oversight6 and elsewhere disclose events that may also be recounted in the

  government’s Brief. At a minimum, any portions of the Brief that recite those facts about the

  investigation, without revealing additional ones not yet publicly available – in addition to any

  other portions that pose no threat to the investigation – should be unsealed. If and when

  additional facts come to light and are confirmed to be accurate, or certain facts no longer pose a

  threat to the investigation for any other reason, there is no justification for maintaining them

  under seal either. Furthermore, any legal arguments in the government’s filings should be made

  public, even if some of the facts the government recounts remain under seal.

                                            CONCLUSION

         For the foregoing reasons, the Media Intervenors respectfully request that the Court enter

  an order (1) unsealing portions of the government’s Brief, and (2) directing the government,

  going forward, to file a public redacted version of any sealed filing simultaneously with the

  sealed version.


  4
   Press Release, Attorney General Merrick Garland Delivers Remarks, Dep’t of Justice (Aug. 11,
  2022), https://www.justice.gov/opa/speech/attorney-general-merrick-garland-delivers-remarks.
  5
   Press Release, Press Statement in Response to Media Queries About Presidential Records,
  Nat’l Archives (Feb. 14, 2022), https://www.archives.gov/press/press-releases/2022/nr22-001;
  Ltr. from Debra Steidel Wall, Acting Archivist of the United States, to Evan Corcoran (May 10,
  2022), available at https://www.archives.gov/files/foia/wall-letter-to-evan-corcoran-re-trump-
  boxes-05.10.2022.pdf.
  6
   See Mot. for Judicial Oversight and Additional Relief, Trump v. United States of America, No.
  9:22-cv-81294-AMC (S.D. Fla. Aug. 22, 2022) (ECF No. 1).



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   Dated: August 25, 2022                      Respectfully submitted,

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